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                            UNITED STATES DISTRICT COURT
  8
                 CENTRAL DISTRICT OF CALIFORNIA – SOUTHERN DIVISION
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 10
       ENRIQUE GUERRERO,                 Case No. SACV 19-1471-JAK (AS)
 11
                         Plaintiff,
                                                   JUDGMENT
 12
            v.
 13
       COUNTY OF ORANGE, et. al.,
 14

 15
                         Defendants.
 16

 17         Pursuant to the Order Accepting Findings, Conclusions and

 18   Recommendations of United States Magistrate Judge,
 19
            IT IS ADJUDGED that the above-captioned action is dismissed
 20

 21   with prejudice.

 22              October 19, 2021
      DATED:
 23

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                                               ______________________________
 25                                                  JOHN A. KRONSTADT
 26                                            UNITED STATES DISTRICT JUDGE

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